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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                   MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                               SECTION “N” (5)
 THIS DOCUMENT RELATES TO:
 ALL CASES                                                     Hon. Kurt D. Engelhardt

                                                               Hon. Michael B. North



                                PRETRIAL ORDER NO. 50

                                    [Protective Order]

       THE COURT being fully advised on the matter, hereby GRANTS Plaintiffs’ Co-Liaison

Counsel’s and Co-Defendants’ Liaison Counsel’s Consent Motion to adopt the Protective Order

as Pretrial Order No. 50.

       IT IS ORDERED that the Protective Order attached hereto be adopted and govern the

MDL.

                                    5th day of July, 2017.
       New Orleans, Louisiana, this ____




                                              MICHAEL B. NORTH
                                   UNITED STATES DISTRICT MAGISTRATE JUDGE
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                           MDL NO. 2740
         PRODUCTS LIABILITY
         LITIGATION                                                     SECTION “N” (5)

 THIS DOCUMENT RELATES TO:
 ALL CASES

                                       PROTECTIVE ORDER

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the following Protective

Order is issued to govern certain disclosures in this case:

    1. Scope. All materials produced or adduced in the course of discovery, including initial

        disclosures, responses to discovery requests, deposition testimony and exhibits, pleadings and

        motions, and information derived directly therefrom (hereinafter collectively “documents”),

        shall be subject to this Order concerning Confidential Information as defined below. This

        Order is subject to the Local Rules of the Eastern District of Louisiana and the Federal Rules

        of Civil Procedure on matters of procedure and calculation of time periods.

    2. Confidential Information.         As used in this Order, “Confidential Information” means

        unredacted information designated as “CONFIDENTIAL - SUBJECT TO PROTECTIVE

        ORDER” by the producing party that falls within one or more of the following categories: (a)

        information prohibited from disclosure by law; (b) information that reveals trade secrets; (c)

        research, technical, commercial or financial information that the party has maintained as

        confidential; (d) medical and protected health information (“PHI”) concerning any individual;

        (e) personal identifying information (“PII”); (f) income tax returns (including attached

        schedules and forms), W-2 forms and 1099 forms; and/or (g) personnel or employment

        records of a person who is not a party to the case.
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3. Designation.

      a. Procedure.    A party may designate a document as Confidential Information for

          protection under this Order by placing or affixing the words “CONFIDENTIAL -

          SUBJECT TO PROTECTIVE ORDER” on the document and on all copies in a

          manner that will not interfere with the legibility of the document. As used in this

          Order, the term “copies” includes electronic images, duplicates, extracts, summaries or

          descriptions that contain the Confidential Information. Except as otherwise set forth in

          paragraph 3.b, the marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE

          ORDER” shall be applied prior to or at the time that the documents are produced or

          disclosed. Applying the marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE

          ORDER” to a document does not mean that the document has any status or protection

          by statute or otherwise except to the extent and for the purposes of this Order. Any

          copies made of any documents marked “CONFIDENTIAL -SUBJECT TO

          PROTECTIVE ORDER” shall also be so marked, except that indices, electronic

          databases or lists of documents that do not contain substantial portions or images of

          the text of Confidential Information and do not otherwise disclose the substance of the

          Confidential Information are not required to be marked.

      b. Inadvertent Failure to Designate. An inadvertent failure to designate a document,

          testimony, or other information as Confidential Information does not, standing alone,

          waive the right to subsequently so designate the information. A party may designate a

          document or ESI as Confidential Information following production, provided that such

          new designation is made promptly after discovery of inadvertent failure to designate.

          Upon such designation, the receiving party shall: treat such document or information



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                as designated pursuant to the terms of this Order; take reasonable steps to return or

                destroy all previously-received copies of the information and provide certification of

                same; notify any persons known to have possession of such material of such new

                designation under this Order; and promptly endeavor to procure all copies of such

                materials from persons known to have possession of such material who are not entitled

                to receipt of it pursuant to this Order. No party shall be found to have violated this

                Order for failing to maintain the confidentiality of material during a time when that

                material has not been designated Confidential Information. Should any motion be

                filed concerning information designated as Confidential Information after production,

                the receiving party shall not assert in support of its position the fact or circumstances

                of the inadvertent disclosure of the Confidential Information.

            c. Inspection of Materials Prior to Production. In the event that documents, materials or

                other information are made subject to inspection prior to their production, no marking

                of those materials need be made by the producing party at the time of that inspection.

                For purposes of such an inspection, all materials made available for the inspection

                shall be considered Confidential Information and subject to this Order at the time of

                the inspection. Thereafter, if any materials subject to that inspection are produced and

                the producing party wishes those materials to be considered Confidential Information

                under this Order, the producing party shall so designate them in accordance with the

                procedures set forth in this Order.

            d. Certification by Counsel or Party. The designation of materials as Confidential

                Information is made pursuant to Fed. R. Civ. P. 26(g).1


1 By designating documents as confidential pursuant to this Order, counsel submits to the jurisdiction and
authority of this Court concerning such designations and the enforcement of this Order.

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4. Depositions. Deposition testimony and exhibits are protected by this Order if the testimony or

   exhibit is designated as confidential when the deposition is taken or within thirty (30) business

   days after receipt of the transcript. Such designation shall be specific as to the portions that

   contain Confidential Information. Until the expiration of the 30-day period, the deposition

   testimony, transcript, and all exhibits shall be treated as confidential. The failure to serve a

   timely Notice of Designation waives any designation of deposition testimony as Confidential

   Information that was made on the record of the deposition, unless otherwise ordered by the

   Court.

5. Protection of Confidential Material.

       a. General Protections. Confidential Information shall not be used or disclosed by the

            parties, counsel for the parties or any other persons identified in subparagraph (b) for

            any purpose whatsoever other than in this litigation, which includes any appeal

            thereof.

       b. Limited Third-Party Disclosures. The parties and counsel for the parties shall not

            disclose or permit the disclosure of any Confidential Information to any third person

            or entity except as set forth in subparagraphs (1)-(9) below.         Subject to these

            requirements, the following categories of persons may be allowed to review

            Confidential Information: (1) Counsel for the parties and employees of counsel who

            have responsibility for the action; (2) individual parties and officers, directors,

            employees, agents or representatives of a party but only to the extent counsel

            determines in good faith that the employee’s assistance is reasonably necessary to the

            conduct of the litigation in which the information is disclosed; (3) the Court and its

            personnel; (4) court reporters and recorders engaged for depositions and/or hearings;



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         (5) those persons specifically engaged for the limited purpose of making copies of

         documents or organizing or processing documents, including outside vendors hired to

         process electronically stored documents; (6) consultants, investigators, or experts

         employed by the parties or counsel for the parties to assist in the preparation and trial

         of this action but only after such persons have completed the certification contained in

         Attachment A (“Acknowledgment of Understanding and Agreement to Be Bound by

         Protective Order”); (7) during their depositions, or in preparation for their trial or

         deposition testimony, witnesses in this action to whom disclosure is reasonably

         necessary. While a deponent is being examined about any Confidential Information,

         persons to whom disclosure is not authorized under this Order shall be excluded from

         the deposition. Witnesses may receive copies of exhibits in connection of review of

         the transcripts, but shall not retain a copy of documents containing Confidential

         Information. Pages of transcribed deposition testimony or exhibits to depositions that

         are designated as Confidential Information pursuant to the process set out in this Order

         must be separately bound by the court reporter and may not be disclosed to anyone

         except as permitted under this Order. (8) The author or recipient of the document in

         the regular course of business (not including a person who received the document in

         the course of litigation); and (9) other persons only by written consent of the

         producing party or upon order of the Court and on such conditions as may be agreed

         upon or ordered. The parties agree that this provision does not preclude the producing

         party from objecting to or moving to preclude disclosure to any person or to seek

         amendment of this provision in the future, if it believes it has a good faith basis for

         such objection or motion.



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       c. Non-Disclosure to Competitors. Notwithstanding the foregoing, without express

           written consent or Court Order, a receiving party shall not disclose a defendant’s

           confidential information to any current employee of any other manufacturer of, or

           manufacturer involved in the sale or distribution of, any taxane, irrespective of

           whether such person is retained as an expert in this action. If a party seeks to disclose

           confidential information to such person, the party seeking disclosure shall follow the

           notice provisions set forth in paragraph 11 below.

       d. Control of Documents. Counsel for the parties shall make reasonable efforts to

           prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel

           shall maintain the originals of the forms signed by persons acknowledging their

           obligations under this Order for a period of three (3) years after the termination of the

           case.

       e. Storage and Transmission of Documents. To avoid security risks, a receiving party

           agrees to abide by existing HIPAA data protection provisions (e.g., Business

           Association Agreements) when handling Confidential Information and other ESI

           protected by federal or state law.

6. Filing of Confidential Information. This Order does not, standing alone, authorize the filing

   of any document under seal. Any party wishing to file a document designated as Confidential

   Information in connection with a motion, brief or other submission to the Court must comply

   with Local Rule 5.6.

7. No Greater Protection of Specific Documents. Except on grounds of privilege not addressed

   by this Order or other orders of the Court, no party may withhold information from discovery




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   on the ground that it requires protection greater than that afforded by this Order or other orders

   of the Court unless the party moves for an order providing such special protection.

8. Challenges by a Party to Designation as Confidential Information. The designation of

   any material or document as Confidential Information is subject to challenge by any party.

   The following procedure shall apply to any such challenge.

       a. Meet and Confer. A party challenging the designation of Confidential Information

           must do so in good faith and must begin the process by conferring directly with

           counsel for the designating party, or directly with a party who is appearing pro se. In

           conferring, the challenging party must explain the basis for its belief that the

           confidentiality designation was not proper and must give the designating party an

           opportunity to review the designated material, to reconsider the designation, and, if no

           change in designation is offered, to explain the basis for the designation.          The

           designating party must respond to the challenge within fourteen (14) days.

       b. Judicial Intervention. A party who elects to challenge a confidentiality designation

           may file and serve a motion that identifies the challenged material and sets forth in

           detail the basis for the challenge. Each such motion must be accompanied by a

           competent certification that affirms that the movant has complied with the meet-and-

           confer requirements of this Order. The burden of persuasion in any such challenge

           proceeding shall be on the designating party. Until the Court rules on the challenge,

           all parties shall continue to treat the materials as Confidential Information under the

           terms of this Order.

9. Action by the Court. Applications to the Court for an order relating to materials or

   documents designated Confidential Information shall be by motion. Nothing in this Order or



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   any action or agreement of a party under this Order shall limit the Court’s authority to make

   orders concerning the disclosure of documents produced in discovery or at trial.

10. Use of Confidential Documents or Information at Trial. Nothing in this Order shall be

   construed to affect the use of any document, testimony, or information at any trial or hearing.

   A party who intends to present or who anticipates that another party may present Confidential

   Information at a hearing or trial, following a meet and confer, shall bring that issue to the

   Court’s and parties’ attention by motion or in a pretrial memorandum without disclosing the

   substance of the Confidential Information. The Court may thereafter make such orders as are

   necessary to govern the use of such documents or information at trial.

11. Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

       a. If a receiving party is served with a request, subpoena, or order issued by another

          court, administrative agency, legislative body, or any other person or organization that

          directs disclosure of any material or document designated in this action as Confidential

          Information, the receiving party must so notify the designating party, in writing,

          immediately and in no event more than three (3) court days after receiving the request,

          subpoena, or order. Such notification must include a copy of the request, subpoena or

          court order. The recipient of the request, subpoena, or order shall not disclose any

          Confidential Information pursuant to the same prior to the date specified for

          production in the request, subpoena, or order.

       b. The receiving party also must immediately inform, in writing, the person or entity that

          issued the request, subpoena, or order that some or all of the material covered by the

          request, subpoena, or order is the subject of this Order. In addition, the receiving party




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          must deliver a copy of this Order promptly to the party, person, or other entity that

          issued the request, subpoena or order.

       c. The purpose of imposing these duties is to alert the issuing person or entity to the

          existence of this Order and to afford the designating party in this case an opportunity

          to make attempts to protect its Confidential Information in the court from which the

          subpoena or order issued. The designating party shall bear the burden and the expense

          of seeking protection of its Confidential Information, and nothing in these provisions

          should be construed as authorizing or encouraging a receiving party in this action to

          disobey a lawful directive from another court or authority. The obligations set forth in

          this paragraph remain in effect while the party has in its possession, custody or control

          Confidential Information by the other party to this case.

12. Obligations upon Conclusion of Litigation.

       a. Order Continues in Force. Unless otherwise agreed upon or ordered, this Order shall

          remain in force after dismissal or entry of final judgment not subject to further appeal.

       b. Obligations upon Conclusion of Litigation. Within sixty (60) days after dismissal or

          entry of final judgment not subject to further appeal, the producing party may make

          demand upon the receiving party for return or destruction of all materials considered

          Confidential Information under this Order, including “copies” as defined above. No

          party shall have any obligation to return or destroy Confidential Information if such a

          demand is not timely made. Where the demand for return or destruction is timely

          made, the subject documents shall be returned to the producing party unless: (1) the

          document has been offered into evidence or filed without restriction as to disclosure;

          (2) the parties agree to destruction to the extent practicable in lieu of return; or (3) as to



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          documents bearing the notations, summations, or other mental impressions of the

          receiving party (i.e., attorney work product), that party elects to destroy the documents

          and certifies to the producing party that it has done so; or (4) to the extent retention is

          required by other laws, rules or regulations, including those of the Louisiana State Bar

          Association and Louisiana Supreme Court. The parties may choose to agree that the

          receiving party shall destroy documents containing Confidential Information and

          certify the fact of destruction, and that the receiving party shall not be required to

          locate, isolate and return e-mails (including attachments to e-mails) that may include

          Confidential Information or Confidential Information contained in deposition

          transcripts or drafts or final expert reports.

       c. Retention of Work Product and One Set of Filed Documents. Notwithstanding the

          above requirements to return or destroy documents, counsel may retain: (1) attorney

          work product, including an index that refers or relates to designated Confidential

          Information, so long as that work product does not duplicate verbatim substantial

          portions of Confidential Information, and (2) one complete set of all documents filed

          with the Court including those filed under seal. Any retained Confidential Information

          shall continue to be protected under this Order. An attorney may use his or her own

          work product in subsequent litigation, provided that its use does not disclose or use

          Confidential Information or otherwise violate this Order.

       d. Deletion of Documents Filed under Seal from Electronic Case Filing (ECF) System.

          Filings under seal shall be deleted from the ECF system only upon order of the Court.




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   13. Order Subject to Modification. This Order shall be subject to modification by the Court on

       its own initiative or on motion of a party or any other person with standing concerning the

       subject matter.

   14. No Prior Judicial Determination. This Order is entered based on the representations and

       agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall be

       construed or presented as a judicial determination that any document or material designated

       Confidential Information by counsel or the parties is entitled to protection under Rule 26(c) of

       the Federal Rules of Civil Procedure or otherwise until such time as the Court may rule on a

       specific document or issue.

   15. Persons Bound. This Order shall take effect when entered and shall be binding upon all

       counsel of record and their law firms, the parties, and persons made subject to this Order by its

       terms.

New Orleans, Louisiana, this 5th day of      July              , 2017.




                                          _________________________________________________
                                                         MICHAEL B. NORTH
                                                    UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A

                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

    The undersigned hereby acknowledges that he/she has read the Protective Order dated

____________________________ in the above-captioned action and attached hereto, understands

the terms thereof and agrees to be bound by those terms. The undersigned submits to the

jurisdiction of the United States District Court for the Eastern District of Louisiana in matters

relating to the aforementioned and attached Protective Order and understands that the terms of the

Order obligate him/her to use materials designated as Confidential Information in accordance with

the Order solely for the purposes of the above-captioned action, and not to disclose any such

Confidential Information to any other person, firm or concern. The undersigned acknowledges

that violation of the Protective Order may result in penalties for contempt of court.

Name (printed):              ______________________________________

Job Title:                   ______________________________________

Employer:                    ______________________________________

Business Address:            ______________________________________

                             ______________________________________

Date:                        ______________________________________

Signature:                   ______________________________________




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